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 8                            IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES,

11               Plaintiff,                  No. CR 08-0116 KJM

12         vs.

13   CHARLES HEAD, et al.,

14               Defendants.
                                         /
15
     UNITED STATES,
16
                 Plaintiff,                  No. CR 08-0093 KJM
17
           vs.
18
     CHARLES HEAD, et al.,
19
                 Defendants.
20   _______________________________/

21   UNITED STATES,

22               Plaintiff,                  No. CR 05-0368 KJM

23         vs.

24   RICHARD JAMES PULLEY, JR.,

25               Defendant.
     _______________________________/
26

                                               1
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 1   UNITED STATES,

 2                  Plaintiff,                    No. CR 09-0407 KJM

 3          vs.

 4   MARIA DEL ROCIO                              ORDER
     ARCEO-RANGEL, et al.,
 5
                 Defendants.
 6   _______________________________/

 7

 8                  Defendants in each of the above-captioned cases have moved to dismiss their

 9   indictments with prejudice based on violations of the Speedy Trial Act of 1974 (“STA” or “the

10   Act”), and specifically the Act’s requirement that trial commence within seventy days of return

11   of the indictment or first appearance, not counting properly excluded time. 18 U.S.C. §§ 3161, et

12   seq. The government opposes defendants’ motions. The cases were consolidated for hearing at

13   which James Greiner argued for defendants in the Arceo-Rangel and Pulley cases, and Scott

14   Tedmon argued for the defendants in the Head cases, identified above. Assistant United States

15   Attorneys Michael Anderson and Samuel Wong appeared for the government in all of the cases,

16   with Todd Leras also appearing in the Pulley case. After careful consideration, for the reasons

17   set forth below, defendants’ motions are DENIED.

18   I.     INTRODUCTION

19                  The underlying cases have been pending for between two and six years. During

20   the pendency of each case, counsel for defendants and the government have requested

21   continuances, at times based on the STA’s discretionary time exclusions under 18 U.S.C.

22   § 3161(h)(7) (“section (h)(7)”) and at other times based on other exclusions under other

23   subsections of 18 U.S.C. § 3161(h). The question presented to the court by defendants’ pending

24   motions is narrow: whether an “ends of justice” continuance under 18 U.S.C. § 3161(h)(7) is

25   per se invalid if the presiding judge excludes time by using a shorthand reference to a statutory

26   factor and general language explaining the reasons for exclusion, but does not otherwise recite

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 1   specific statutory language found in section (h)(7). If such an exclusion is invalid, then

 2   defendants argue the appropriate remedy is dismissal with prejudice.

 3   II.     BACKGROUND ON SPEEDY TRIAL ACT AND THIS COURT’S LOCAL CODES

 4           A.      The Speedy Trial Act

 5                   The STA mandates that a criminal defendant proceed to trial within seventy days

 6   of being charged or making an initial appearance, whichever occurs later. 18 U.S.C. § 3161(c).

 7   Mindful of the frequent impediments to trial commencing within the seventy day period and

 8   variations among cases, Congress set forth several mechanisms in the STA for excluding time

 9   from the seventy day period. See 18 U.S.C. § 3161(h); Zedner v. United States, 547 U.S. 489,

10   497 (2006) (“[T]he Act recognizes that criminal cases vary widely and that there are valid

11   reasons for greater delay in particular cases.”). Specific, enumerated exclusions under section

12   3161(h)(1) are “automatic” and apply “without district court findings.” See United States v.

13   Tinklenberg, __U.S.__, 131 S.Ct. 2007, 2013 (2011); Bloate v. United States, 559 U.S. __, 130

14   S.Ct. 1345, 1353 (2010). These enumerated exclusions are triggered by, for example, delays

15   resulting from trial on other charges, appeal, the filing of pretrial motions, and the court’s

16   consideration of a proposed plea agreement. See generally 18 U.S.C. § 3161(h)(1). Because

17   these exclusions are automatic and do not require express findings, they can be applied in a

18   post-hoc manner. See United States v. Stubblefield, 643 F.3d 291, 296 (D.C. Cir. 2011) (noting

19   reviewing court could rely on an automatic exclusion not mentioned during trial court

20   proceedings).

21                   By contrast, discretionary exclusions under section 3161(h)(7) require the court to

22   articulate on the record its reasons for finding a continuance is justified. See 18 U.S.C.

23   § 3161(h)(7)(A) (“subsection (h)(7)(A)”). “Both the Act and its legislative history establish that

24   no continuance period may be excluded [under § 3161(h)(7)] unless the court makes reasonably

25   explicit findings that demonstrate that the ends of justice served by granting the continuance do,

26   /////

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 1   in fact, outweigh the best interests of the public and the defendant in a speedy trial.” United

 2   States v. Perez-Revelez, 715 F.2d 1348, 1352 (9th Cir. 1983). Specifically, the statute provides

 3   the following framework for granting an “ends of justice” continuance and the periods of time

 4   that may qualify for exclusion:

 5                  (A) Any period of delay resulting from a continuance granted by
                    any judge on his own motion or at the request of the defendant or
 6                  his counsel or at the request of the attorney for the Government, if
                    the judge granted such continuance on the basis of his findings that
 7                  the ends of justice served by taking such action outweigh the best
                    interest of the public and the defendant in a speedy trial. No such
 8                  period of delay resulting from a continuance granted by the court
                    in accordance with this paragraph shall be excludable under this
 9                  subsection unless the court sets forth, in the record of the case,
                    either orally or in writing, its reasons for finding that the ends of
10                  justice served by the granting of such continuance outweigh the
                    best interests of the public and the defendant in a speedy trial.
11
                    (B) The factors, among others, which a judge shall consider in
12                  determining whether to grant a continuance under subparagraph
                    (A) of this paragraph in any case are as follows:
13
                    (i) Whether the failure to grant such a continuance in the
14                  proceeding would be likely to make a continuation of such
                    proceeding impossible, or result in a miscarriage of justice.
15
                    (ii) Whether the case is so unusual or so complex, due to the
16                  number of defendants, the nature of the prosecution, or the
                    existence of novel questions of fact or law, that it is unreasonable
17                  to expect adequate preparation for pretrial proceedings or for the
                    trial itself within the time limits established by this section.
18
                    (iii) Whether, in a case in which arrest precedes indictment, delay
19                  in the filing of the indictment is caused because the arrest occurs at
                    a time such that it is unreasonable to expect return and filing of the
20                  indictment within the period specified in section 3161(b), or
                    because the facts upon which the grand jury must base its
21                  determination are unusual or complex.

22                  (iv) Whether the failure to grant such a continuance in a case
                    which, taken as a whole, is not so unusual or so complex as to fall
23                  within clause (ii), would deny the defendant reasonable time to

24   /////

25   /////

26   /////

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 1                    obtain counsel, would unreasonably deny the defendant or the
                      Government continuity of counsel, or would deny counsel for the
 2                    defendant or the attorney for the Government the reasonable time
                      necessary for effective preparation, taking into account the
 3                    exercise of due diligence.

 4   18 U.S.C. § 3161(h)(7).1 Section 3161(h)(7) provides courts with necessary “flexibility in

 5   accommodating unusual, complex, and difficult cases”; however, in order to prevent the

 6   exception from consuming the STA’s rule requiring speedy resolution of criminal proceedings,

 7   section 3161(h)(7) “counteract[s] substantive openendedness with procedural strictness” by

 8   requiring on the record findings justifying an exclusion. Zedner, 547 U.S. at 498-99. In sum,

 9   section 3161(h)(7) “permits a district court to grant a continuance and to exclude the resulting

10   delay if the court, after considering certain factors, makes on-the-record findings that the ends of

11   justice served by granting the continuance outweigh the public's and defendant's interests in a

12   speedy trial. This provision gives the district court discretion -- within limits and subject to

13   specific procedures -- to accommodate limited delays for case-specific needs.” Id. at 489.

14           B.       Local Codes

15                    By General Order, the Eastern District of California has adopted local codes to be

16   used as shorthand references to corresponding STA provisions. See General Order No. 479, In

17   Re: Plan for Prompt Disposition of Criminal Cases Pursuant to Speedy Trial Act of 1974 last

18   updated October 15, 2009. The General Order states, “[i]n order to facilitate the recording of

19   excludable time on the record and in docket entries, the court has developed Excludable Delay

20   Codes with arabic numerals corresponding to specific statutory provisions of 18 U.S.C.

21   § 3161(h) to be used at the discretion of each judge.” By way of example, local codes “T-2” and

22   “T-4” correspond to sections 18 U.S.C. § 3161(h)(7)(B)(ii) and (iv), respectively. These codes

23   /////

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               Prior to Congress’s October 2008 amendment of the STA, the relevant portion under
25   discussion appeared in 18 U.S.C. § 3161(h)(8). See Pub. L. No. 110-406, sec. 13, 122 Stat. 4291,
     4294 (redesignating 18 U.S.C. § 3161(h)(8) as 18 U.S.C. § 3161(h)(7)). For the sake of clarity,
26   all references in this order are to § 3161(h)(7).

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 1   typically are used by judges of this district as a shorthand form to identify a factor under

 2   subsection (h)(7)(B) that the judge has determined justifies an (h)(7) continuance.

 3   III.   DEFENDANTS’ ARGUMENTS

 4                   Defendants contend 18 U.S.C. § 3161(h)(7) requires a two-step process whereby

 5   the presiding judge makes findings under subsection 3161(h)(7)(B) (“subsection (h)(7)(B)”) and

 6   then explicitly states on the record that the “the ends of justice served by taking such action

 7   outweigh the best interest of the public and the defendant in a speedy trial” in accordance with

 8   subsection 3161(h)(7)(A).2 Defendants rely primarily on the cases of Bloate and Zedner. The

 9   main thrust of their argument is that section 3161(h)(7) requires consideration of a particular

10   legal standard, and that the only conceivable way for a judge to satisfy that standard is to recite

11   the exact language of the statute so the record is clear the proper standard has been considered

12   and applied.

13                   While the defendants have joined in each others’ motions, their respective counsel

14   emphasize slightly different points. The opening briefs for each defendant are nearly identical

15   on the dispositive point; the core arguments consist primarily of a quotation from Zedner and a

16   recitation of the language of section 3161(h)(7). See, e.g., Gutierrez-Valencia MTD at 14-15;

17   Head 08-93 MTD at 12-13; Head 08-116 MTD at 11-12; Pulley MTD at 9-12. In their reply

18   papers, all defendants are in agreement that specific “ends of justice” language must be recorded

19   in order for a continuance to be valid. Defendants assert that “express requirements” call for a

20

21          2
                 See generally, Def. Gutierrez-Valencia's Am. Mot. to Dismiss at 14-15, United States
     v. Maria Del Rocio Arceo-Rangel, et al., No. 09-407-KJM (E.D. Cal. Aug. 11, 2011), ECF No.
22   143 (“Gutierrez-Valencia MTD”); Def. Head's Mot. to Dismiss at 12-13, United States v.
     Charles Head, et al., No. 08-93-KJM (E.D. Cal. Aug. 4, 2011), ECF No. 489 (“Head 08-93
23   MTD”); Def. McCarns' Mot. to Dismiss at 19-21, United States v. Charles Head, et al., No.
     08-93-KJM (E.D. Cal. Aug. 4, 2011), ECF No. 489; Def. Head's Mot. to Dismiss at 10-11,
24   United States v. Charles Head, et al., No. 08-116-KJM (E.D. Cal. Aug. 4, 2011), ECF No. 239
     (“Head 08-116 MTD”); Def. McCarns’ Mot. to Dismiss at 11-12, United States v. Charles Head,
25   et al., No. 08-116-KJM (E.D. Cal. Aug. 4, 2011), ECF No. 240; Def.'s Mot. to Dismiss at 9-12,
     United States v. Richard Pulley, No. 05-368-KJM (E.D. Cal. Aug. 4, 2011), ECF No. 88 (“Pulley
26   MTD”).

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 1   recitation on the record of the legal standard contained in subsection 3161(h)(7)(A). See Def.

 2   Head's Reply at 3, United States v. Charles Head, et al., No. 08-116-KJM (E.D. Cal. Sept. 22,

 3   2011), ECF No. 258 (“In reviewing the four corners of the transcript, at no time did [the

 4   presiding judge] make a finding on the record that in granting this continuance, the ends of

 5   justice outweigh the right of the public and the defendants in a speedy trial, thereby failing to

 6   engage in the ends of justice balancing test required by 18 U.S.C. § 3161(h)(7)(A).”); id. at 6-7

 7   (arguing that the court’s adoption of the parties’ stipulation that time be excluded under a local

 8   code where the judge signed the order under the language ‘good cause appearing’ is inadequate

 9   under the Act).

10                  In addition, the defendants represented by Mr. Greiner contend that reference to a

11   local code fails to adequately record a judge’s finding of the relevant factor considered under

12   subsection 3161(h)(7)(B), separate and apart from whether the “ends of justice” language is

13   made on the record. According to these defendants, because the reference made by the judge is

14   simply to a local code that means nothing to a reader of the transcript, the findings are

15   inadequate. See, e.g., Def. Pulley’s Reply at 15, 21, United States v. Richard Pulley, No.

16   05-368-KJM (E.D. Cal. Oct. 26, 2011), ECF No. 119 (“The T-4 by the government does not aid

17   the reader of the record as to any compliance with the Speedy Trial Act.”); Def.

18   Gutierrez-Valencia’s Reply at 20, United States v. Maria Del Rocio Arceo-Rangel, et al., No.

19   09-407-KJM (E.D. Cal. Oct. 26, 2011), ECF No. 208 (“the Magistrate Court used the all too

20   familiar, yet legally insufficient use of ‘T2 and T4 exclusion’ that made the record, yet the record

21   to any reader is silent as to what, if anything, a ‘T2 and T4 exclusion’ is.”); see also Def.

22   McCarns’ Reply at 2-3 n.2, United States v. Charles Head, et al., No. 08-93-KJM (E.D. Cal.

23   Sept. 22, 2011), ECF No. 519. On this point, defendants do not provide any controlling authority

24   for the view that the perspective a court must consider is that of a third-party reader. Nothing in

25   the statute provides for the making of findings that meet an uninformed third-party test. The

26   court finds this particular argument unavailing, without a need for further analysis.

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 1                    In response to defendants’ arguments, government counsel take the position that

 2   the defense is elevating form over substance, and that the record on the challenged exclusions is

 3   sufficient.3

 4   IV.     ANALYSIS

 5                    Defendants carry the burden of proving a STA violation. See 18 U.S.C.

 6   § 3162(a)(2); see also United States v. Medina, 524 F.3d 974, 980 (9th Cir. 2008) (paraphrasing

 7   18 U.S.C. § 1362(a)(2)). “If the defendant carries this burden, the indictment ‘shall be

 8   dismissed,’ and the district court must then consider whether to dismiss the case with or without

 9   prejudice.” Id. at 980-81.

10                    As explained below, the court finds defendants have not met their burden. In

11   particular, their position is at odds with the language of the STA, which requires the court to

12   make a record of “its reasons for finding that the ends of justice served by the granting of such

13   continuance outweigh the best interests of the public and the defendant in a speedy trial.” 18

14   U.S.C. § 3161(h)(7)(A) (emphasis added); cf. Bloate, 130 S.Ct. at 1354 (noting that ignoring

15   “the structure and grammar” of a statute “would violate settled principles of statutory

16   construction”). Defendants’ interpretation would read the words “its reasons for” out of the

17   statute and place undue emphasis on the court’s reciting the rest of the language contained in

18   subsection (h)(7)(A) after indicating a basis for findings to support an exclusion of time.

19   Defendants’ position also is not consistent with the Supreme Court’s decisions in Bloate and

20   /////

21
             3
                Alternately, the government argues the record can be supplemented to cure any error
22   before this court formally resolves the motions to dismiss. The court notes that other judges have
     declined the government’s invitation to supplement their records. See United States v. Maria
23   Del Rocio Arceo-Rangel, et al., No. 09-407-KJM (E.D. Cal.) ECF Nos. 223, 226 (Orders by
     District Judge Frank C. Damrell, Jr. and Magistrate Judge Dale Drozd, respectively, denying
24   plaintiff’s motions to supplement the record); United States v. Charles Head, et al., No.
     08-093-KJM (E.D. Cal.), ECF No. 550 (same by Judge Damrell); United States v. Charles Head,
25   et al., No. 08-116-KJM (E.D. Cal.), ECF No. 275 (same). This court also declines to supplement
     the record of prior proceedings over which it presided, finding supplementation unwarranted,
26   even if the government’s request in this respect were timely.

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 1   Zedner, when those decisions are read closely. Additionally, it is inconsistent with Ninth Circuit

 2   case law, and authority from other circuits.

 3          A.      Statutory Language

 4                  The first sentence of subsection (h)(7)(A) provides that a court may toll the

 5   speedy trial clock for

 6                  [a]ny period of delay resulting from a continuance granted by any
                    judge on his own motion or at the request of the defendant or his
 7                  counsel or at the request of the attorney for the Government, if the
                    judge granted such continuance on the basis of his findings that the
 8                  ends of justice served by taking such action outweigh the best
                    interest of the public and the defendant in a speedy trial.
 9

10   18 U.S.C. § 3161(h)(7)(A). Nothing in this first sentence requires a finding that assumes a

11   specific form. Rather the sentence provides only that certain findings provide the basis for

12   granting an “ends of justice” continuance. Cf. United States v. Carpenter, 542 F. Supp. 2d 183,

13   184 (D. Mass. 2008) (noting “ends of justice” finding was “implicit” in granting the continuance

14   and court subsequently made reasoning explicit at hearing on motion to dismiss). The second

15   sentence of subsection (h)(7)(A) demonstrates how Congress makes clear when it is requiring

16   the creation of an explicit record:

17                  No such period of delay resulting from a continuance granted by
                    the court in accordance with this paragraph shall be excludable
18                  under this subsection unless the court sets forth, in the record of
                    the case, either orally or in writing, its reasons for finding that the
19                  ends of justice served by the granting of such continuance
                    outweigh the best interests of the public and the defendant in a
20                  speedy trial.

21   18 U.S.C. § 3161(h)(7)(A). On its face, this sentence does expressly require the creation of a

22   stated or written record that makes clear the reasons for an ends of justice exclusion. See United

23   States v. Bryant, 523 F.3d 349, 360 (D.C. Cir. 2008) (“Zedner makes it plain that ‘implicit’

24   findings are insufficient to invoke the section 3161(h)([7])(A) exclusion. The Zedner Court held

25   that before a judge could toll the speedy trial clock under section 3161(h)([7])(A), the judge had

26   to make ‘express findings’ about why the ends of justice were served by a continuance . . . .”)

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 1   (emphasis added). Read in conjunction, the two sentences of subsection (h)(7)(A) require a

 2   court to state the reasons a continuance is being granted, but do not require a recitation of any

 3   particular statutory language. Cf. United States v. Solorzano-Rivera, 368 F.3d 1073, 1078 (9th

 4   Cir. 2004) (adopting the “plain meaning” of section 3161(h)(1)(I)); Zedner, 547 U.S. at 508

 5   (adopting the “straightforward reading” of (h)(7)).

 6          B.      Supreme Court Cases

 7                   The case law interpreting section 3161(h)(7) is not contrary to this reading of the

 8   statute, and does not otherwise require a rote repetition of the statute’s text. The two recent

 9   Supreme Court opinions on which defendants rely address section 3161(h)(7) only indirectly. In

10   Zedner and Bloate, the district courts relied on their understanding that certain time would be

11   excluded on grounds other than (h)(7). In Zedner, the defendant executed a general waiver of his

12   rights under the Act, and in Bloate the court presumed preparation time for pretrial motions was

13   automatically excluded under section 3161(h)(1) and therefore did not make a record of reasons

14   for finding the preparation time excluded under section 3161(h)(7).

15                  1. Zedner

16                  Specifically, in Zedner, the Court examined whether a defendant could

17   prospectively waive application of the STA and if not, whether the lower court’s later passing

18   reference to complexity without any particularized findings could retrospectively support a

19   continuance under section 3161(h)(7). 547 U.S. at 492-93. The defendant in Zedner, an amateur

20   counterfeiter, was indicted in the Spring of 2006. After two brief initial continuances, the

21   defendant asked for a three month continuance. Id. at 493. This request prompted the presiding

22   judge to require the defendant to prospectively waive his rights under the STA by signing a

23   prepared form. Id. at 494-95. The lower court reasoned that because section 3162(a)(2) allows a

24   defendant to waive the STA’s protections through inaction by failing to timely raise a motion to

25   dismiss, a defendant could by extension also affirmatively waive the Act going forward. Id. at

26   503. At the next status conference at the end of the three months, the defendant requested

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 1   another continuance. The court, satisfied that the defendant had previously waived his rights

 2   under the STA, continued the case another three months, without reference to the STA and

 3   without making any findings supporting an exclusion. Id. at 495. After several more years of

 4   proceedings, the defendant moved to dismiss based on violation of the STA. In the interim, the

 5   court had never addressed whether the Act required formal exclusions of time, believing the

 6   defendant’s waiver valid. Id. at 495-96. The district court denied the motion based on

 7   defendant’s prior waiver of rights, and in doing so made a passing reference to the case as

 8   complex. Id. at 496.

 9                  The Court in Zedner held a defendant cannot single-handedly waive the STA's

10   requirements because the protected rights are held by both the public and the defendant. Id. at

11   500-01. Rather, each exclusion of speedy trial time requires a proper exclusion of time under

12   section 3161(h). The Court held that the first three-month continuance failed to comply with the

13   STA, because the district court had not addressed the specific requirements of the STA, instead

14   treating the continuance as an exercise of its case management authority: “Nothing in the

15   discussion at the conference suggests that the question presented by the defense continuance

16   request was viewed as anything other than a case-management question that lay entirely within

17   the scope of the District Court’s discretion.” 547 U.S. at 506. As a result, the Court found a

18   violation of the STA and declined to further analyze any other continuances granted.

19                  In addressing the district court’s attempt to cover all the prior continuances with a

20   passing reference to complexity when faced with the motion to dismiss, the Court rejected this

21   approach:

22                  The Act requires that when a district court grants an
                    ends-of-justice continuance, it must “se[t] forth, in the record of
23                  the case, either orally or in writing, its reasons” for finding that the
                    ends of justice are served and they outweigh other interests. 18
24                  U.S.C. § 3161(h)([7])(A). Although the Act is clear that the
                    findings must be made, if only in the judge's mind, before granting
25                  the continuance (the continuance can only be “granted ... on the
                    basis of [the court's] findings”), the Act is ambiguous on precisely
26                  when those findings must be “se[t] forth, in the record of the case.”

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 1                  However this ambiguity is resolved, at the very least the Act
                    implies that those findings must be put on the record by the time a
 2                  district court rules on a defendant's motion to dismiss under
                    § 3162(a)(2). . . . § 3161(h)([7])(A) is explicit that “[n]o ... period
 3                  of delay resulting from a continuance granted by the court in
                    accordance with this paragraph shall be excludable ... unless the
 4                  court sets forth ... its reasons for [its] finding [s].” Thus, without
                    on-the-record findings, there can be no exclusion under
 5                  § 3161(h)([7]). Here, the District Court set forth no such findings
                    at the January 31 status conference, and § 3161(h)([7])(A) is not
 6                  satisfied by the District Court's passing reference to the case's
                    complexity in its ruling on petitioner's motion to dismiss.
 7

 8   Zedner, 547 U.S. 507-08. In this passage the Court’s focus, tracking the statutory language, is

 9   on the reasons for finding the ends of justice standard is satisfied. The Court does refer to

10   “findings” in identifying what must be recorded for a valid continuance to obtain, while also

11   quoting the statute’s passage using the word “reasons.” But to construe this language to derive a

12   rigid requirement that a court recite exact language from section (h)(7) each time it finds reasons

13   to grant an “ends of justice” continuance is at odds with the Court’s focus on (h)(7)’s ability to

14   adapt to “case-specific” needs. Id. at 499 (noting that (h)(7) gives courts needed flexibility under

15   the STA to exclude time based on the specific circumstances of each case). Moreover, as noted

16   above, the Court in Zedner ultimately said that a “straightforward reading” of section h(7)(A), in

17   the context of a motion to dismiss under section 316(a)(2), “leads to the conclusion that if a

18   judge fails to make the requisite findings regarding the need for an ends-of-justice continuance,

19   the delay resulting from the continuance must be counted” against the speedy trial clock. Id. at

20   508 (emphasis added). And while the Court, as defendants stress, did note the strategy of section

21   3161(h)(7) “is to counteract substantive open-endedness with procedural strictness,” it followed

22   this observation with a statement emphasizing the need for some findings “on-the-record” that

23   reflect the consideration of “certain factors.” Id. at 509. The Court’s conclusion conveys the

24   need for some findings, as opposed to none, “in support of” a continuance under subsection

25   (h)(7)(A). Id. (holding harmless-error review is inappropriate when district court makes no

26   findings “in support” of an exclusion under (h)(7)). The lesson this court draws from Zedner is

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 1   not that exact words must be uttered every time, but rather that the facts presented in requesting a

 2   continuance must be considered and the court must articulate its reasons for granting an “ends of

 3   justice” exclusion of time on the record.

 4                  2. Bloate

 5                  In Bloate, the Supreme Court addressed “the narrow question [of] whether time

 6   granted to a party to prepare pretrial motions is automatically excludable from the Act's 70-day

 7   limit under subsection (h)(1), or whether such time may be excluded only if a court makes

 8   case-specific findings under subsection (h)(7).” 130 S.Ct at 1349. In Bloate, the defendant was

 9   indicted on federal weapons and drugs charges in August 2006. Pretrial motions were due by

10   September 14, but the defendant moved to extend that date. On September 25, 2006, the

11   defendant waived pretrial motions and on October 4, 2006, the district court found the

12   defendant’s waiver competent. When the defendant later moved to dismiss the indictment for a

13   violation of the STA, the court excluded the time from September 7 to October 4 as time

14   allocated to preparation of a pretrial motion under subsection 3161(h)(1)(D). Id. at 1350. Bloate

15   held that motion preparation time is not automatically excluded under section (h)(1) and

16   therefore requires case-specific findings under section 3161(h)(7). Id. at 1353-54. The Court did

17   not address what procedures section (h)(7) requires because the record was not fully developed

18   or argued in that respect. Id. at 1358. Accordingly, the case sheds little light on the precise issue

19   presented by the pending motions in this case.

20                  To the extent Bloate does discuss the requirements of section (h)(7), it does so in

21   dicta not binding here. The decision does note that subsection (h)(7)(B) identifies “statutory

22   factors that justify a continuance under subsection (h)(7),” and that a court can exclude a period

23   of “delay only where the district court makes findings justifying the exclusion.” Id. at 1356-57.

24   In explaining that motion preparation time may be excluded under section (h)(7), the Court in

25   Bloate notes “trial judges always have to devote time to assessing whether the reasons for the

26   delay are justified, given both the statutory and constitutional requirement of speedy trials.

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 1   Placing these reasons in the record does not add an appreciable burden on these judges.” Id. at

 2   1357 (emphasis added). Bloate concludes by stating, “a district court may exclude preparation

 3   time under subsection (h)(7) if it grants a continuance for that purpose based on recorded

 4   findings ‘that the ends of justice served by taking such action outweigh the best interest of the

 5   public and the defendant in a speedy trial.’” Id. at 1357-58. While the Court places the “ends of

 6   justice” language in quotes, without citation, a fair reading of this passage is that the quotes

 7   reflect a recognition that the language is a verbatim transcription of the statute. The Court goes

 8   on to characterize subsection (h)(7) as providing “much of the Act’s flexibility,” giving “district

 9   courts ‘discretion - within limits and subject to specific procedures . . .’.” Id. at 1358 (quoting

10   Zedner, 547 U.S. at 498-99). Taking all of the foregoing in context, it reads too much into

11   Bloate to construe it as requiring that a district court intone particular language.4 Rather, read in

12   context, the message of this portion of Bloate -- although far from a holding -- is that recording

13   the reasons for exclusions of time are paramount.

14                  In sum, nothing in Zedner or Bloate requires a district court’s transformation into

15   an automaton in order to imbue an exclusion of time with validity under the STA.

16          C.       Circuit Authority

17                  1. Ninth Circuit Case Law

18                  Ninth Circuit precedent addresses the procedural requirements of section (h)(7)

19   more directly, in the context of the questions raised by the defense: “A district court must satisfy

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21          4
               While Justice Alito’s dissent includes a line objecting that the requirement that a judge
     “recite this determination [the ends of justice will be served by an extension] on the record will
22   often be an empty exercise,” Bloate, 130 S.Ct. at 1365 (Alito, J., dissenting), he makes this
     observation in the context of importing the “ends of justice” requirement into defense-initiated
23   continuance requests that are properly supported by separate sections of the Act. This dissenting
     complaint is not properly read as responding to any majority holding requiring that precise
24   statutory text be parroted every time an (h)(7)(A) exclusion is made. Rather, Justice Alito
     observes “[v]iewed in their proper context, subsection (h)(1) and its subparagraphs carve out
25   exceptions to the general rule of § 3161(h)(7)(A) requiring ends-of-justice findings for
     continuances”; therefore, in his view, requiring an ends of justice finding for the continuance
26   contested in the Bloate case would be an “empty exercise,” as unnecessary. Id.

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 1   two requirements when it grants an ‘ends of justice’ continuance under section 3161(h)(7):

 2   ‘(1) the continuance must be specifically limited in time; and (2) it must be justified on the

 3   record with reference to the facts as of the time the delay is ordered.’” United States v. Lewis,

 4   611 F.3d 1172, 1176 (9th Cir. 2010) (quoting United States v. Lloyd, 125 F.3d 1263, 1268 (9th

 5   Cir. 1997)). In granting a section (h)(7) continuance, the court must “conduct an appropriate

 6   inquiry to determine whether the various parties actually want and need a continuance, how long

 7   a delay is actually required, what adjustments can be made with respect to the trial calendars or

 8   other plans of counsel, and whether granting the requested continuance would ‘outweigh the best

 9   interest of the public and the defendants in a speedy trial.’” Lloyd, 125 F.3d at 1269 (quoting

10   § 3161(h)(7)).

11                    Defendants rely heavily on the Circuit’s earlier decision in Perez-Revelez where a

12   judge’s cursory reference to a factor under 18 U.S.C. § 3161(h)(7), without any factual support

13   in the record, was determined to be insufficient to uphold an “ends of justice” exclusion. In that

14   case, the defendant noted his intention to call co-defendants as witnesses once their pleas were

15   entered. 715 F.2d at 1349-50. The court granted a continuance without any mention of the Act.

16   At the next status a month later, the defendant stressed his intention to assert his rights under the

17   Act and said he wished to proceed to trial immediately. Id. at 1350. Because neither the

18   government nor the court were prepared to go to trial, the trial was put over a month at which

19   point the defendant moved for dismissal based on a speedy trial clock violation. The district

20   judge denied the motion, having excluded the twenty-nine days after the initial status conference

21   when the defendant noted he intended to call co-defendants as witnesses; in doing so, the court

22   made a passing reference to the case being complex. Id. The Circuit Court determined the

23   twenty-nine day period was not excludable because the district court merely concluded the case

24   was complex without any factual basis: “the mere conclusion that the case is complex is

25   insufficient. The statement gives no indication why the court considered the case complex, and

26   the record suggests that findings could not have been made to support the conclusion.” Id. at

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 1   1352. Perez-Revelez is distinguishable from the instant cases because defendants do not contest

 2   that the exclusions challenged lacked a factual basis.5 Instead, defense counsel suggest that

 3   Perez-Revelez itself imposes a “particularity” requirement that the court make an explicit ends of

 4   justice finding that incorporates the statutory language. The particularity requirement in Perez-

 5   Revelez, however, refers to justifications for a continuance and not the conclusion that the ends

 6   of justice are served. See id. at 1352 (“no continuance period may be excluded unless the court

 7   makes reasonably explicit findings that demonstrate that the ends of justice served by granting

 8   the continuance do, in fact, outweigh the best interests of the public and the defendant in a

 9   speedy trial”(emphases added)); id. at 1352 (“As the legislative history of the Act makes clear,

10   those reasons must be ‘set forth with particularity.’”(emphasis added)). A requirement that a

11   fixed phrase be automatically articulated is at odds with the exercise of thought and judgment

12   required by the STA.

13                   Defendants also suggest that Perez-Revelez mandates a two-step process, with the

14   first step reflecting an express consideration of a factor under subsection (h)(7)(B) and the

15   second step overtly tracking the language of subsection (h)(7)(A). Perez-Revelez does note two

16   limitations on a court’s granting a continuance under section (h)(7): first, Congress directs that

17   certain factors be considered under subsection (h)(7)(B); and second, Congress has mandated

18   that a court’s justification for a continuance be made of record. Id. at 1351. This framework

19   reenforces the statute’s clear language, which requires only the reason for a continuance be made

20   explicit. Id. (“The essential inquiry in this case is whether the trial court satisfied [the]

21   requirement [for an explicit finding] by stating, either orally or in writing, its reasons for

22   granting the August 24 continuance.”).

23                   In United States v. Murillo, 288 F.3d 1126, 1134 (9th Cir. 2002), the Circuit

24   cautioned against over-reliance on Perez-Revelez by distinguishing it in favor of United States v.

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             5
              Defendant Pulley’s argument that references to “T2” and “T4” are inadequate as a
26   shorthand to capture the court’s findings is addressed above. See pages 7-8 supra.

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 1   Murray, 771 F.2d 1324 (9th Cir.1985) (per curiam). In Murray, a district judge had granted an

 2   ends of justice continuance after hearing a lengthy justification by the Assistant United States

 3   Attorney and issuing an order that “found that the complexity of the case against Murray, the

 4   ongoing nature of the investigation, and the potential multiplicity of defendants supported the

 5   extension of time.” As summarized by Murillo, “[t]his Court found that the reasons stated by the

 6   district court [in Murray] — and their degree of particularity — to be ‘wholly in accordance’

 7   with the requirements of the ends of justice provision.” 288 F.3d at 1134 (quoting Murray, 771

 8   F.3d at 1328). In Murillo, the court noted that the facts of Perez-Revelez did not disclose simply

 9   an error with respect to satisfying a particularity standard; rather the trial court’s stated reason in

10   Perez-Revelez was unsupported by the record and referenced a factor that was not available,

11   factually, under section (h)(7). Murillo, 288 F.3d at 1134; Perez-Revelez, 715 F.3d at 1152

12   (“The [court’s reference to complexity] gives no indication why the court considered the case

13   complex, and the record suggests that findings could not have been made to support the

14   conclusion.”).

15                    Finally, in response to defendants’ argument that exclusions of time based on the

16   parties’ agreement are invalid if the (h)(7)(A) language is missing from a stipulation, the Circuit

17   has found that “[d]istrict courts may fulfill their Speedy Trial Act responsibilities by adopting

18   stipulated factual findings which establish valid bases for Speedy Trial Act continuances.”

19   United States v. Ramirez-Cortez, 213 F.3d 1149, 1157 n.9 (9th Cir. 2000). Neither Bloate nor

20   Zedner disturbed Ramirez-Cortez. Ramirez-Cortez also reenforces the importance of the

21   presiding judge’s making a particularized factual inquiry that supports finding a continuation is

22   warranted. Id. at 1154 (rejecting an ends of justice continuance as inadequate where “a

23   particularized inquiry as to the actual need and reasons for a continuance [was] not made, [and]

24   the transcript reveal[ed] that the Magistrate Judge was granting blanket continuances”). See also

25   Medina, 524 F.3d at 986 (9th Cir. 2008) (post-Zedner case upholding a continuance where “[t]he

26   court's explanation document[ed] that it considered the factors in section 3161(h)([7])(B) and

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 1   determined that the continuance was merited based on two of the factors mentioned in section

 2   3161(h)([7])(B)(iv)” - without any ends of justice language).

 3                    2. Other Circuits

 4                    Although the Ninth Circuit has not spoken directly on the ultimate issue raised by

 5   the defense motions here, other circuits have concluded, after Zedner, that particular language is

 6   not necessary for an ends of justice exclusion to be valid. See, e.g., United States v. Williams,

 7   511 F.3d 1044, 1056 (10th Cir. 2007) (“[A] district court need not necessarily expressly conduct

 8   a balancing or use particular language, so long as the court gives some indication of balancing

 9   contemporaneous with the grant of the continuance, to which the later findings referred”)

10   (citation, quotation and alterations omitted); United States v. O’Connor, 656 F.3d 630, 640 (7th

11   Cir. 2011) (post-Bloate decision stating “[T]he Speedy Trial Act does not require the court ‘to

12   cite ... sections [of the Act] or to track the statutory language in a lengthy legal opinion,’ but

13   rather to make findings ‘sufficiently specific to justify a continuance[ ] and comport with the

14   purposes of the Act.”) (quotations and citations omitted); United States v. Whitfield, 590 F.3d

15   325, 357 (5th Cir. 2009) (“Our decisions do not require that the phrase “ends of justice” always

16   be used, so long as the district court offers an acceptable reason for granting the continuance on

17   the record.”).

18   V.      CONCLUSION

19                    Defendants’ motions assume that for an exclusion of time under the Speedy Trial

20   Act to be effective, a presiding judge must say out loud or put in print each time the following

21   words: “the ends of justice served by excluding time outweigh the interests of the public and the

22   defendant in a speedy trial.” While recognizing the importance of finding legally justifiable

23   reasons for excluding time and providing a record that makes those reasons comprehensible, this

24   court finds that the constraints the defense would impose on judges are not supported by the

25   /////

26   /////

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 1   Speedy Trial Act, the Supreme Court, or the Ninth Circuit. The court need not reach the

 2   remainder of defendants’ arguments. Defendants’ motions to dismiss are DENIED.

 3                 IT IS SO ORDERED.

 4   DATED: December 27, 2011.

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                                              UNITED STATES DISTRICT JUDGE
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